          IN THE UNITED STATES DISTRICT COURT FOR THE
                MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL MILLER,                             :        No. 1:24-cv-00014-JPW-MCC
        Plaintiff,                          :
                                            :
v.                                          :        (Judge Wilson)
                                            :        (Magistrate Judge Carlson)
COUNTY OF LANCASTER, et al.,                :
        Defendants.                         :        (Electronically filed)

                 DEFENDANT COUNTY OF LANCASTER’S
                  MOTION TO TAKE JUDICIAL NOTICE

      Defendant County of Lancaster (“Lancaster County” or the “County”), by

and through its undersigned counsel, respectfully requests that this Court take

judicial notice of recent filings made by Plaintiff Michael Miller for the reasons set

forth in its supporting brief filed in accordance with Local Rule 7.5.

                                       Respectfully submitted,

                                       McNEES WALLACE & NURICK LLC

                                       By
                                                Sarah Hyser-Staub
                                                PA I.D. No. 315989
                                                Lauren Anthony
                                                PA I.D. No. 324557
                                                100 Pine Street
                                                Harrisburg, PA 17101
                                                717-237-5473
                                                sstaub@mcneeslaw.com
                                                lanthony@mcneeslaw.com


Dated: December 17, 2024               Attorneys for Defendant Lancaster County

                                          2
